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                            UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA

  10 ILYA ORLOV, et al.                           CASE NO:
                                                  2:21−cv−09848−SVW−JC
  11                   Plaintiff(s),
  12         v.                  ORDER SETTING INITIAL
  13 SAFECO INSURANCE COMPANY OF STATUS CONFERENCE
     AMERICA, et al.
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                      Defendant(s).
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                       IT IS HEREBY ORDERED that a Status Conference be set
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       for Monday, January 10, 2022 at 03:00 PM, before the Honorable Stephen V.
  20
       Wilson. The attorneys attending this conference MUST be those who are in charge
  21
       of the conduct of the trial. Attendance is mandatory.
  22                   This Court views this status conference as critical to its case
  23   management responsibilities. Counsel are required to approach it with the same
  24   seriousness.
  25                   IT IS FURTHER ORDERED that counsel meet and confer prior
  26   to conference in accordance with Local Rule 26, however, counsel are not required
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       to file any documents, such as an Early Meeting Report or the Status Conference
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       Report.
  3                  Failure on the part of counsel to participate knowledgeably in
  4    the conference may result in sanctions.
  5                  IT IS FURTHER ORDERED that, at the Status Conference,
  6    counsel must be fully prepared to inform the Court of the following:
  7                  (1) the theory of the case, both factual and legal,
  8                  (2) settlement potential and approaches including an
  9                      examination of whether a limited trial on certain bifurcated
  10                     issues could lead to an overall disposition of the case,
  11                 (3) length of trial, jury vs non−jury, unusual trial problems, etc.,
  12                 (4) motions to be filed and an explanation for their necessity.
  13                 This Court will not continue this status conference except upon
  14   a showing of good cause.
  15                 (Rule 26f) Counsel should view the discovery period as a time
  16   for the orderly and cooperative exchange of information essential to a resolution
  17   of the case. Sanctions will be imposed if counsel impede the discovery process
  18   through contentiousness and over−litigiousness. In short, the Court does not view

  19   the pre−trial process as an arena or a series of hostile skirmishes, but rather as a

  20   structure through which legal and factual positions are openly and candidly
  21   exchanged. The goal must be the early and inexpensive settlement of the cases
  22   or the refinement of issues for trial.
  23                 All discovery matters have been referred to a United States

  24   Magistrate Judge as provided in this Court's Standing Order. Discovery disputes

  25   of a significant nature should be brought promptly before the Magistrate Judge.

  26   The Court does not look favorably upon delay resulting from unnecessarily
  27   unresolved discovery disputes. Any discovery disputes that are not resolved
  28   three (3) weeks prior to the scheduled trial date should be brought promptly

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        and directly to the attention of this Court.
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                       Plaintiff's counsel, or counsel for defendant if plaintiff is pro se,
  3     is to provide written notice of this conference and the meeting requirements
  4     to any parties appearing, who are known and not yet formally appeared, on
  5     or after the date of this order.
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           IT IS SO ORDERED.
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       DATED: December 27, 2021
  9                                        Stephen V. Wilson
                                           United States District Judge
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